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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

                                          MDL No. 2-18-mn-2873-RMG
IN RE: AQUEOUS FILM-FORMING
FOAMS PRODUCTS LIABILITY                  This Document Relates to:
LITIGATION                                City of Camden, et al. v. 3M Company,
                                          Case No. 2:23-cv-03147-RMG


       MEMORANDUM OF LAW IN SUPPORT OF THE SOVEREIGNS’
                   MOTION TO INTERVENE




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I.      INTRODUCTION

        Arizona, California, Colorado, Connecticut, Hawaii, Maine, Maryland, Massachusetts,

Minnesota, New Hampshire, New Jersey, New Mexico, New York, Pennsylvania, Puerto Rico,

Rhode Island, Tennessee, Texas, Vermont, Wisconsin, as well as the District of Columbia and the

Commonwealth of the Northern Mariana Islands (collectively, the “Sovereigns”), by and through

their respective Attorneys General and/or their respective counsel, move to intervene in City of

Camden, et al. v. 3M Company, No. 2:23-cv-03147-RMG to protect the Sovereigns’ interests in

their separate, ongoing, or intended lawsuits against 3M Company to address contamination of the

Sovereigns’ natural resources, drinking water, and/or public water systems, among other

contaminated resources and locations, with per- and polyfluoroalkyl substances (“PFAS”). The

Sovereigns have sued or intend to sue as trustees of natural resources; as property owners; in their

parens patriae capacities on behalf of all of their residents or subdivisions; and/or pursuant to their

statutory, constitutional, common law, and other authorities and powers to protect public health

and the environment in their states and territories. 1 The Sovereigns’ cases include those seeking

recovery for PFAS contamination of public drinking water, groundwater, surface water, and other

impacted resources as described in Part II.A, infra. There are public water systems in each State

that are putative class members of the proposed settlement between 3M and public water providers

(“Settlement”). 2




1
  For ease of reference, the collective or individual jurisdictions of the states and territories will be
referred to herein as the “States” or the “State.”
2
  Settlement Agreement Between Public Water Systems and 3M Company (“Settlement
Agreement”), ECF No. 3370-03, at Exs. E and F [hereinafter cited as “Settlement Agr.”].
                                                   1
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       The Sovereigns’ lawsuits—and other rights and interests—may be impacted by the current

provisions of the proposed Settlement as explained in the concurrently filed States’ and

Sovereigns’ Omnibus Opposition to Plaintiffs’ Motion for Preliminary Approval of Class

Settlement, for Certification of Settlement Class and for Permission to Disseminate Class Notice

(“Sovereigns’ Opposition” or “Opposition”). The Sovereigns seek to intervene to protect their own

interests that are not represented by Plaintiffs in at least two primary ways.

       First, there are overly broad release and indemnity provisions in the Settlement Agreement

that could be interpreted to impact the Sovereigns’ cases. The indemnity provision could be read

to require public water systems to indemnify 3M against any damages awarded in any litigation

that in any way concerns class member public water systems, rendering the Settlement amount

illusory due to the uncapped nature of the indemnity. The overly broad release could be read to

encroach into portions of the Sovereigns’ cases that “relate” to public water systems.

       Second, the Court observed at the July 14, 2023 Status Conference that it could include an

All Writs Act injunction in an order granting the motion for preliminary approval. There is a clear

risk that such an injunction could sweep in the entirety of the Sovereigns’ cases, including those

that are brought to address public drinking water but also those that seek relief that goes well

beyond public drinking water. 3 The Sovereigns seek much broader relief to address PFAS-

contaminated natural resources than the putative Settlement class members: in addition to injuries

to drinking water and public water supply wells, the Sovereigns seek relief for injuries to

groundwater, surface waters, private drinking water wells, and contaminated locations such as



3
  This result could be especially severe for Vermont, which has been devoting substantial resources
and attorney hours to separately litigating its non-AFFF PFAS case in state court since 2019 and
has a trial-ready date of October 16, 2024. That said, the Sovereigns do not concede that the
injunction proposed in the DuPont settlement would stay their cases.
                                                  2
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wastewater treatment plants, landfills, industrial sites, biosolid land application sites, and non-

water natural resources. An All Writs Act injunction would severely curtail the Sovereigns’ rights

and interests in pursuing these important claims.

       The Sovereigns seek intervention to protect the Sovereigns’ interests in the Settlement,

class certification, and class notice to ensure that those documents respect and do not impede the

Sovereigns’ separate PFAS cases, including cases outside the multidistrict litigation (“MDL”) 4

that do not involve aqueous film-forming foam (“AFFF”). The Sovereigns through the Sovereign

Committee and individually have expressed these concerns to Proposed Class Counsel and 3M but

have not successfully reached a resolution. Thus, the Sovereigns respectfully request that the Court

grant their Motion to Intervene and consider the Sovereigns’ Opposition filed concurrently with

this Motion. 5

II.    BACKGROUND

                 The Sovereigns Have Sued, Intend to Sue, or Are Administering a Settlement
                 with 3M for Widespread PFAS Contamination

       The Sovereigns seeking intervention have either filed or intend to file separate PFAS

lawsuits against 3M and others to remedy widespread PFAS contamination in their States. While

some of those lawsuits are related to AFFF and pending before this Court, many more are not

related to AFFF and are pending before other federal or state courts. And, as previously noted, the

Sovereigns’ claims address PFAS contamination well beyond drinking water.




4
  For purposes of this Motion, the terms “MDL” and “AFFF MDL” refer to this litigation, In re:
Aqueous Film-Forming Foams Products Liability Litigation, MDL No. 2-18-mn-2873-RMG.
5
  Two subsets of the signatories to the Motion to Intervene and Sovereigns’ Opposition are also
concurrently filing two supplemental oppositions. The sovereigns who have signed those
oppositions also seek intervention for the purpose of providing those supplements to the Court.
                                                 3
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         Arizona. The State of Arizona filed a complaint against 3M and other defendants on May

26, 2023. Arizona has claims against the defendants for damages to state property and the State’s

natural resources, including its groundwater and sources of drinking water, and for costs for

investigating, testing, monitoring, removal and disposal of PFAS contamination. 6

         California. On November 17, 2022, California’s Attorney General sued 3M on behalf of

the People to seek redress for a broad range of injuries, including harm caused by 3M to drinking

water and other natural resources. 7 The suit was then tagged and transferred to the MDL. 8 As the

People’s chief law enforcement officer, the Attorney General is empowered to take “charge, as

attorney, of all legal matters in which the State is interested.” CAL. GOV’T CODE § 12511. He is a

“guardian of the public interest.” People ex rel. Deukmejian v. Brown, 29 Cal. 3d 150, 157 (1981)

(quotations omitted). Accordingly, the California Legislature has specifically vested the Attorney

General with authority to intervene “in any judicial or administrative proceeding in which facts

are alleged concerning pollution or adverse environmental effects which could affect the public

generally.” CAL. GOV’T CODE § 12606. 9



6
 See Compl. ¶¶ 10–17, 83–86, 98, 108,115, 125–127, 131–135, 144, 158, in State of Arizona v.
3M Company, No. 2:23-cv-01125 (D. Ariz.).
7
    See Compl., ECF No. 1-1, in People ex rel. Bonta v. 3M, No. 2:23-cv-01531-RMG (D.S.C.).
8
    See Transfer Order, ECF No. 36, No. 2:23-cv-01531-RMG (D.S.C. Apr. 12, 2023).
9
  Indeed, the Attorney General’s interests in protecting the public from pollution or adverse
environmental effects are so weighty that the California Legislature expressly found and declared:
         (a) It is the policy of this state to conserve, protect, and enhance its environment. It
         is the policy of this state to prevent destruction, pollution, or irreparable impairment
         of the environment and the natural resources of this state. (b) It is in the public
         interest to provide the people of the State of California through the Attorney
         General with adequate remedy to protect the natural resources of the State of
         California from pollution, impairment, or destruction. (c) Conservation of natural
         resources and protection of the environment are pursuits often beyond the scope of
         inquiry, legislation, or enforcement by local government; several local public

                                                    4
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          Colorado. The State of Colorado, through its Attorney General, filed a lawsuit against

DuPont-related entities and others to address PFAS contamination in Colorado. The lawsuit was

removed to federal court and is pending in the MDL. Colorado brought the lawsuit in its sovereign

and proprietary capacities and in its parens patriae capacity on behalf of its citizens and residents

to protect public health, safety, and welfare and to protect the state’s waters, environment, wildlife,

wildlife habitat, and other natural resources. 10 Colorado seeks damages and other relief for PFAS

contamination to drinking water, ground water, surface water, soils, and other natural resources. 11

Colorado has not yet filed a lawsuit against 3M but has preserved its claims against 3M for PFAS

contamination in a tolling agreement.

          Commonwealth of the Northern Mariana Islands. The Commonwealth of the Northern

Mariana Islands (“CNMI”), through its Attorney General, filed a lawsuit on November 12, 2019

against 3M and others responsible for PFAS contamination in drinking water, groundwater, and

other natural resources found primarily on the island of Saipan from the use of AFFF. CNMI’s

lawsuit was thereafter removed and consolidated with these MDL proceedings. 12

          CNMI’s claims are brought in its capacities as trustee of natural resources and parens

patriae. 13 Further, CNMI brings claims under statutes providing expansive relief to address PFAS



          entities existing in the same ecological community have acted in differing and,
          sometimes, conflicting manners; uniform, coordinated, and thorough response to
          the questions of protection of environment and preservation of natural resources
          must be assured; and these matters are of statewide concern.
CAL. GOV’T CODE § 12600.
10
  See Compl. ¶¶ 16–18, ECF No. 1-2, in State of Colorado ex rel. Weiser v. E. I. du Pont de
Nemours & Company, et al., No. 2:22-cv-01195-RMG (D.S.C.).
11
     See id. ¶¶ 93, 97–98, 106–115.
12
   See Compl., ECF No. 26, in CNMI v. 3M, et al., No. 2:19-cv-3602-RMG. The operative
complaint is CNMI’s Second Amended Complaint (ECF No. 26).
13
   See CNMI Second Am. Compl. ¶ 30.
                                              5
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contamination in drinking water and other resources, including the CNMI Protection from PFAS

Act, 2 CMC §§ 3901, et seq. and the federal Safe Drinking Water Act.

       CNMI’s case seeks to require the defendants to pay for all costs to investigate, clean up

and remove, treat, monitor, and otherwise respond to PFAS contamination resulting from AFFF,

including in drinking water, as well as restoration of natural resources, and compensatory

damages. 14

       Connecticut. Connecticut is likely to pursue PFAS claims against 3M and others pursuant

to its role as trustee of its natural resources and in its parens patriae capacity to redress PFAS

contamination of its groundwater, surface waters, nearshore waters, soils, and other natural

resources.

       District of Columbia. The District of Columbia filed a PFAS case against 3M in the District

of Columbia Superior Court on July 17, 2023. The District of Columbia seeks to recover for PFAS

contamination of groundwater, surface water, soil, plants and animal life, and other natural

resources and for costs related to treating and remediating PFAS contamination in drinking water,

wastewater, and biosolids. 15

       Hawaii. Hawaii is likely to pursue PFAS claims against 3M and others pursuant to its role

as trustee of its natural resources and in its parens patriae capacity to redress PFAS contamination

of its groundwater, surface waters, nearshore waters, soils, and other natural resources.

       Maine. The State of Maine, through its Attorney General, filed two separate lawsuits in

state court against 3M and DuPont-related entities to address PFAS contamination within Maine.

The first case addresses only PFAS contamination associated with the use of AFFF, was removed


14
  See CNMI Second Am. Compl. at Prayer for Relief 1-8.
15
  See Ex. 1, Compl. ¶¶ 4, 7, 48, 73, 81, 84–85 in District of Columbia v. The 3M Company, No.
2023-CAB-004322 (D.C. Super. Ct.).
                                                 6
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to federal court, and is currently pending within the MDL. 16 Maine brought a separate lawsuit to

address PFAS contamination caused by consumer and household products, as well as industrial

uses that are not related to the use of AFFF. 17 The case is currently pending in Maine federal court

subject to a motion to remand.

         Maine has brought its AFFF and non-AFFF cases in its capacity as sovereign; as trustee of

the State’s natural resources; as owner of property (or of substantial interests in property); and

pursuant to its parens patriae authority on behalf of its citizens and subdivisions, including public

water systems, as well as its statutory authority to protect State natural resources and property, and

its common law police power, including its power to prevent pollution of the State’s natural

resources and property; to prevent nuisances; and to prevent and abate hazards to public health,

safety, welfare, and the environment. 18 The scope of damages and other relief sought by Maine

extends to many natural resources and locations in addition to public drinking water wells,

including PFAS contamination of groundwater, surface waters, soils, and other natural resources

at locations including in its non-AFFF case private drinking water wells, wastewater treatment

plants, landfills, industrial sites, and biosolid application sites, among other locations. 19




16
   See Compl. ¶ 22, ECF No. 1-3, in State of Maine v. 3M Company, et al., No. 2:23-cv-02573-
RMG (D.S.C.) [hereinafter cited as “Maine AFFF Compl.”] (“The State is not seeking to recover
through this Complaint any relief for contamination and injury from PFAS that is not related to
the manufacture and use of AFFF, which the State is addressing through a separate legal action.”).
17
  See Ex. 2, Compl. ¶ 15, in State of Maine v. 3M Company, et al., No. 2:23-cv-00210-JAW (D.
Me.) [hereinafter cited as “Maine Non-AFFF Compl.”] (“The State is not seeking to recover
through this Complaint any relief for contamination or injury related to Aqueous Film Forming
Foam, a firefighting material that contains PFAS.”).
18
     See Maine AFFF Compl. ¶¶ 20, 23–26; Maine Non-AFFF Compl. ¶¶ 13, 16–19.
19
  See Maine AFFF Compl. ¶¶ 224, 232, 236, 239; Maine Non-AFFF Compl. ¶¶ 134–135, 141,
146, 149, 152.
                                                   7
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       Maryland. The State of Maryland, through its Attorney General and on behalf of the

Maryland Department of Environment, the Maryland Department of Health, and the Maryland

Department of Natural Resources, filed two separate lawsuits on May 30, 2023—one to address

contamination across Maryland from PFAS due to the use of AFFF, and one to address statewide

contamination from PFAS from non-AFFF sources, such as industrial use and consumer products.

Maryland brought both suits directly, pursuant to its property rights in State-owned lands, and also

pursuant to its police powers, its parens patriae authority, and as the trustee of Maryland’s natural

resources to protect the health and wellbeing of its residents and natural resources.

       Maryland’s AFFF case seeks to recover all damages and costs arising from PFAS

contamination caused by 3M’s AFFF products, including but not limited to drinking water and

natural resource damages, as well as all past, present, and future costs of testing, monitoring,

investigating, and treating for and/or abating PFAS contamination caused by 3M’s AFFF products.

Maryland’s AFFF case is the subject of a Conditional Transfer Order and will proceed in the AFFF

MDL. 20

       Maryland’s Non-AFFF case was filed to address widespread contamination of Maryland’s

natural resources—particularly the drinking water supplies upon which its citizens depend—with

PFAS. Maryland seeks to recover all damages and costs arising from PFAS contamination within

the State, but “the State does not … seek any remediation, restoration, damages, or any other relief

related to any PFAS contamination caused by AFFF or fluorosurfactants when used as ingredients



20
  See Ex. 3, Compl. ¶¶ 1, 4–9, 12, 13, 20, 93–134, 135–154, 158–240, 241–253, 255–272, 274–
287, 289–297, 299–310, 312–318, 320–327, 329–332, 334–347, 349–361, 363–373, 375–386, in
State of Maryland v. 3M Company, et al., No. 1:23-CV-1834-BPG (D. Md.) (“Maryland AFFF
Case”). The Maryland AFFF Case was removed from State court on July 10, 2023, and 3M tagged
the case to the AFFF MDL, which motion resulted in the issuance of a Conditional Transfer Order
(“CTO”) on July 19, 2023.
                                                 8
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of AFFF” as such “claims with respect to AFFF are the subject of a separate action.” 21 3M removed

the Non-AFFF Case from state court and sought to tag it to the AFFF MDL. On July 19, 2023, the

Judicial Panel on Multidistrict Litigation declined to issue a CTO for Maryland’s Non-AFFF Case.

Maryland intends to seek remand to state court of its Non-AFFF Case.

          Massachusetts. The Commonwealth of Massachusetts direct-filed a lawsuit in the MDL

on May 25, 2022 against 3M and other defendants, seeking to address PFAS contamination across

the Commonwealth, including PFAS from AFFF. 22 Massachusetts has brought its suit in its

sovereign and parens patriae capacity and in the public trust to protect and promote the

Commonwealth’s interests, including its interest in the health, safety, security, and well-being of

its residents and the integrity of its natural resources. 23 The Commonwealth seeks to recover all

damages sustained in its sovereign, parens patriae, public trustee, and other capacities, including

but not limited to all costs associated with investigating, restoring, and responding to

contamination of the State’s natural resources, such as groundwater and other water resources. 24

          Minnesota. The State of Minnesota, through its Attorney General and the Commissioners

of its Pollution Control Agency and Department of Natural Resources, brought a lawsuit for natural

resources damages against 3M in state court for drinking water contamination in the eastern Twin

Cities Metro area. Minnesota settled that case with 3M in February 2018. Minnesota is currently

administering that settlement, and Exhibit G of the proposed Settlement Agreement excludes the




21
  See Ex. 4, Compl. ¶ 13, in State of Maryland v. 3M Company, et al., No. 1:23-CV-1836-BPG
(D. Md.) (“Maryland Non-AFFF Case”).
22
     Commonwealth of Massachusetts v. 3M Company, et al., No. 2:22-cv-01649-RMG (D.S.C.).
23
 Complaint ¶ 9, Commonwealth of Massachusetts v. 3M Company, et al., No. 2:22-cv-01649-
RMG (D.S.C. May 25, 2022).
24
     Id., Prayer ¶¶ A–B.
                                                9
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public water systems serving the handful of communities that the 2018 settlement covers. But there

are hundreds of other public water systems in the State, as inventoried in Exhibits E and F of the

proposed 3M Settlement Agreement. Minnesota has an interest in protecting public water systems

and its State interests to the extent provided in its settlement agreement.

          New Hampshire. The State of New Hampshire filed two separate lawsuits on May 29,

2019—one to address contamination across New Hampshire from PFAS due to the use of AFFF

and one to address statewide contamination from PFAS from non-AFFF sources, such as industrial

use and consumer products. New Hampshire brought both of its lawsuits in its capacity as trustee

of the waters of the State, as steward of other natural resources, and in its parens patriae capacity.

In addition to damages to investigate, restore, and respond to contamination of the State’s natural

resources, the State seeks, inter alia, damages for the provision of potable drinking water where

drinking water supplies have been or will be contaminated. 25

         New Hampshire’s AFFF case is a member case in this MDL. 26 New Hampshire’s non-

AFFF case, on the other hand, has been proceeding in New Hampshire state and federal courts for

over four years now. 27 In fact, last year, 3M unsuccessfully attempted to remove and tag New

Hampshire’s non-AFFF case to this MDL. The Judicial Panel on Multidistrict Litigation found

that this non-AFFF case did not belong in this MDL and granted New Hampshire’s motion to

vacate the conditional transfer order. 28 Moreover, in March 2023, the federal district court in New



25
   See Ex. 5, Second Am. Compl. at Prayer ¶ A(2), in State of New Hampshire v. 3M Company, et
al., No. 216-2019-CV-00445 (N.H. Super. Ct.) (Aug. 25, 2021).
26
     See State of New Hampshire v. 3M Company, et al., No. 2:19-cv-02285-RMG (D.S.C.).
27
  See State of New Hampshire v. 3M Company, et al., No. 216-2019-CV-00445 (N.H. Super. Ct.),
remanded from No. 1:22-cv-00145-LM (D.N.H.).
28
 See Order Vacating Conditional Transfer Order (ECF No. 22), in State of New Hampshire v. 3M
Company, et al., No. 1:22-cv-00145-LM (D.N.H.) (Aug. 3, 2022).
                                                 10
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Hampshire found that 3M’s assertion of federal officer removal jurisdiction did not give rise to

federal subject matter jurisdiction and that 3M’s removal was untimely and remanded the case to

New Hampshire Superior Court. 29 3M has appealed the district court’s decision to the First Circuit

Court of Appeals. 30 3M has filed its appellate brief, and New Hampshire’s responsive brief is due

next month. In the meantime, New Hampshire’s non-AFFF case is proceeding in state court.

         New Jersey. The New Jersey Department of Environmental Protection (“NJDEP”) issued

a Statewide PFAS Directive to 3M and other PFAS manufacturers and users on March 25, 2019.

The Statewide PFAS Directive sought to require 3M and the other responsible parties to fund the

investigation, testing, treatment, cleanup, and removal of PFAS from New Jersey’s environment,

including in New Jersey’s drinking water systems and private drinking water wells, as well as

natural resources including groundwater, surface water, soil, sediments, and biota, pursuant to their

obligations under various New Jersey environmental laws. 31 3M has yet to satisfy the full

requirements of the Directive.

         Following the issuance of the Statewide PFAS Directive, on March 27, 2019, NJDEP

further brought a series of lawsuits in New Jersey Superior Court focused on addressing PFAS

contamination released from DuPont manufacturing sites known as Chambers Works and Parlin. 32

NJDEP named 3M as a defendant in those cases because, for decades, 3M supplied the PFAS used




29
 See Order, ECF No. 102, in State of New Hampshire v. 3M Company, et al., No. 1:22-cv-00145-
LM (D.N.H.) (Mar. 29, 2023).
30
     See State of New Hampshire v. 3M Company, No. 23-1362 (1st Cir.).
31
   See N.J. Statewide PFAS Directive, available at https://www.nj.gov/dep/docs/statewide-pfas-
directive-20190325.pdf, ¶ 67.
32
  See N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., et al., No. SLM-L-57-19
(N.J. Sup Ct.) (Chambers Works); N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours &
Co., et al., No. MID-L-2448-19 (N.J. Sup. Ct.) (Parlin).
                                                 11
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and disposed by DuPont at these sites. These cases, which were removed to New Jersey federal

district court, remain pending. 33 The federal district court confirmed 3M should remain in the case

and may be held liable as a responsible party under the New Jersey Spill Compensation and Control

Act, N.J.S.A. 58:10A-1, et seq. 34

          Additionally, on May 14, 2019, the New Jersey Attorney General and NJDEP brought a

lawsuit in New Jersey Superior Court against 3M and others seeking redress for statewide PFAS

contamination caused by AFFF. 35 New Jersey’s AFFF case was removed and shortly thereafter

consolidated with these MDL proceedings. 36 This Court recently granted NJDEP’s motion for

leave to pursue claims under the federal Safe Drinking Water Act and the New Jersey Safe

Drinking Water Act to protect the health of New Jersey’s residents from drinking water with PFAS

above the State’s maximum contaminant levels. 37

          Collectively as a result these actions, the State of New Jersey, through the Attorney General

and NJDEP, has brought and is continuing to litigate expansive claims in its capacity as trustee of

natural resources within its jurisdiction to protect the public trust and seek compensation for injury

to New Jersey’s natural resources, in its capacity as parens patriae to protect the health and




33
   See N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., at al., No. 1:19-cv-14766
(D.N.J.) (Chambers Works); N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., et
al., No. 3:19-cv-14767 (D.N.J.) (Parlin).
34
  See ECF No. 156, in N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., et al., No.
1:19-cv-14766.
35
     See Grewal, et al. v. 3M, et al., No. MER-L-953-19 (N.J. Sup. Ct.).
36
     New Jersey’s AFFF case was assigned docket number 2:19-cv-02199-RMG (D.S.C.).
37
     See Order, ECF No. 58, 2:19-cv-02199-RMG (D.S.C.).
                                                   12
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wellbeing of its residents, and in its capacity as regulator. 38 New Jersey seeks relief against 3M

and others to address PFAS contamination in drinking water, groundwater, surface water

sediments, soils, and biota, including in the form of costs necessary to investigate, remediate, and

restore New Jersey’s impacted natural resources, as well as damages for injuries to those

resources. 39

          New Mexico. The State of New Mexico, through its Attorney General, filed a lawsuit

against 3M and others to address PFAS contamination on May 26, 2023. 40 New Mexico has

brought the suit pursuant to its authority to protect public trust resources and its police power; in

its parens patriae capacity for the benefit of the citizens of the State, pursuant to the State’s

possessory interest in the public lands of the State; and as an exercise of other authorities and

powers. 41 New Mexico seeks to recover for PFAS contamination of groundwater, surface water,

sediments, soils, and other natural resources. 42


38
  See Second Am. Compl. ¶ 14, ECF 57, in N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de
Nemours & Co., at al., No. 1:19-cv-14766 (D.N.J.) (Chambers Works); Second Am. Compl. ¶ 12,
ECF 73, in N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., at al., No. 3:19-cv-
14767 (D.N.J.) (Parlin); AFFF Proposed Second Am. Compl. ¶ 20, ECF 57, Ex. A, in N.J. Dep’t
Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., at al., 2:19-cv-02199-RMG (D.S.C.).
39
  See Second Am. Compl. ¶¶ 7-8, ECF 57, in N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de
Nemours & Co., at al., No. 1:19-cv-14766 (D.N.J.) (Chambers Works); Second Am. Compl. ¶ 6,
ECF 73, in N.J. Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., at al., No. 3:19-cv-
14767 (D.N.J.) (Parlin); AFFF Proposed Second Am. Compl. ¶¶ 11-14, ECF 57, Ex. A, in N.J.
Dep’t Envtl. Prot., et al. v. E. I. du Pont de Nemours & Co., at al., 2:19-cv-02199-RMG (D.S.C.).
40
  See Ex. 6, Compl. for (1) Public Nuisance, (2) Negligence, (3) Products Liability, (4) Violation
of New Mexico Unfair Practices Act, (5), Trespass, and (6) Violation of New Mexico Uniform
Fraudulent Transactions Act, in The State of New Mexico ex rel. Torrez v. 3M Company, No. D-
101-CV-2023-01158 (1st Jud. Dist. Ct. Cnty. of Santa Fe May 26, 2023). New Mexico has a
second pending action in the AFFF MDL, but that action only names as a defendant the U.S.
Department of the Airforce. The State of New Mexico v. United States, No. 2:20-cv-02115-RMG
(D.S.C.).
41
     See id. ¶¶ 9–12, & Request for Relief ¶ F.
42
     See id. ¶¶ 64–93, 152–153, 264, 271–274, 317–318.
                                                    13
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       New York. The State of New York, through its Attorney General, is presently litigating

four AFFF actions against 3M and other defendants in the MDL. 43 Each action is brought by the

State, as parens patriae and representative of all residents and citizens of the State, as trustee and

guardian of the State’s natural resources, and on its own behalf in its sovereign and proprietary

capacities, to redress the contamination of its soils, ground waters, and surface waters by

discharges of AFFF containing PFAS. Through its actions, New York seeks to recover its past and

future costs in responding to injuries and/or threats to public health and the environment caused

by the defendants’ AFFF products along with damages for harm to the State’s natural resources,

among other things.

       Ohio. The State of Ohio, through its Attorney General, filed a lawsuit on February 8, 2018

in the Court of Common Pleas, Washington County, Ohio. Through the Complaint, Ohio seeks

injunctive relief, costs, and damages in connection with the contamination of Ohio’s natural

resources by perfluorooctanoic acid (“PFOA”) emitted from the Washington Works facility

located in Parkersburg, WV. Ohio v. E.I. Du Pont De Nemours and Co., et al., Case No. 180T32

(Ct. of Common Pleas, Washington County, Ohio) (the “Washington Works Case”). This case is

focused solely on the injury to Ohio caused by DuPont’s releases of PFOA from that facility from

1951 to the present, including direct discharges to the Ohio River and decades of air emissions.

Ohio does not seek, in its Washington Works Case, to recover for any contamination caused by

AFFF. In addition, the only defendants are E.I. du Pont de Nemours and Co. (“DuPont”), The

Chemours Company, DuPont de Nemours, Inc., and Corteva, Inc. 3M and other AFFF

manufacturers are not defendants in the Washington Works Case.


43
   See State of New York v. 3M Company, No. 19-cv-01022-RMG; State of New York v. 3M
Company, No. 19-cv-02123-RMG; State of New York v. 3M Company, No. 19-cv-02607-RMG;
State of New York v. 3M Company, No. 20-cv-00048-RMG.
                                                 14
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       The Complaint in the Washington Works Case alleges that Ohio is the owner in trust of

public lands, waters, and resources within Ohio. As parens patriae, the State has sued to protect

its natural resources and the health, safety, and welfare of the citizens of Ohio. State-owned lands

were also severely contaminated by DuPont’s PFOA from Washington Works. The Complaint

asserts claims for negligence, public nuisance, trespass, and unjust enrichment, and seeks damages

for, among other things, the harm DuPont caused to Ohio natural resources. The Complaint also

asks for punitive damages based on the fact that DuPont continued to release PFOA into the

environment, for decades, despite knowing that it was toxic and harmful to the environment and

human health. In addition, Ohio also seeks restitution as an alternative remedy, seeking

disgorgement of DuPont’s profits.

       The Washington Works Case has been heavily litigated for the past five years. The

defendants’ motions to dismiss were denied in June 2019, motions for partial summary judgment

have been ruled on in Ohio’s favor, the State has taken 20 depositions of current and former

DuPont employees, and the parties are nearing the end of fact discovery and will be submitting

expert reports by the end of 2023. The case is set for trial in October 2024.

       In addition, Ohio, through its Attorney General, has filed a separate lawsuit concerning

PFAS contamination of its water systems and natural resources resulting from the use of AFFF,

which is directed against 3M, the DuPont entities, and various AFFF manufacturers, manufacturers

of PFAS for use in AFFF, and AFFF distributors. The matter was first filed in the Court of

Common Pleas, Lucas County, Ohio, and removed to the District Court for the Northern District

of Ohio, then transferred into the MDL. Ohio has brought its AFFF lawsuit in its capacity as

sovereign, as owner of property (or of substantial interests in property), as trustee of the State’s

natural resources, and pursuant to its parens patriae authority on behalf of its citizens and

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subdivisions. The State’s lawsuit seeks to recover for harm to natural resources traceable to the

use of AFFF on a statewide basis, including groundwater, surface waters, soils, sediments, biota,

and other natural resources. 44

          Pennsylvania. Pennsylvania filed a PFAS lawsuit in state court against certain DuPont

entities on May 30, 2023, which has been removed to federal court, and is likely to pursue similar

claims against 3M. 45 Pennsylvania has sued in its capacity as a trustee of public natural resources

pursuant to its trustee duties under the Pennsylvania Constitution, art. 1, § 27; in its parens patriae

capacity; and pursuant to its police powers. 46 Pennsylvania seeks relief for PFAS contamination

of public and private drinking water wells, groundwater, surface waters, sediment, and biota,

among other natural resources. 47

          Puerto Rico. The Commonwealth of Puerto Rico filed a PFAS case lawsuit against 3M in

the MDL on May 31, 2023. Puerto Rico sued as trustee of natural resources and in its parens

patriae capacity to recover for PFAS contamination of soils, sediments, groundwater, surface

water, and other natural resources and at locations including public drinking water wells,

wastewater treatment plants, and industrial sites. 48




44
  See Second Amended Complaint, ¶¶ 24-30, ECF No. 76, in Ohio, ex rel. Dave Yost, Ohio
Attorney General v. 3M Co., et al., 2:19-cv-00990-RMG (D.S.C.).
45
 See Ex. 7, Compl., ECF No. 1-1, in The Commonwealth of Pennsylvania v. EIDP, Inc., et al.,
No. 1:23-cv-01131 (M.D. Pa.).
46
     See id. ¶¶ 12, 22–28.
47
     See id. ¶¶ 187, 199–204.
48
 See Compl. ¶¶ 1–3, 8, 59, 76, 81, 156, ECF No. 1, in The Commonwealth of Puerto Rico v. The
3M Company, No. 2:23-cv-02351-RMG (D.S.C.).
                                                  16
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        Rhode Island. On May 25, 2023, the State of Rhode Island. Through its Attorney General,

sued 3M and others to redress PFAS contamination within Rhode Island. 49 Rhode Island brought

suit as an exercise of its police power to enforce the laws, pursuant to its authority to protect public

trust resources, and in its parens patriae capacity for the benefit of its citizens. Rhode Island seeks

various remedies, including natural resource damages and the costs of investigating, treating, and

remediating PFAS detected in groundwater, surface water, sediments, soils, and biota throughout

Rhode Island. 50

        Tennessee. On May 31, 2023, the State of Tennessee, acting by and through its Attorney

General, sued 3M and others to redress PFAS contamination from AFFF sources within the State,

and the case was removed to the Middle District of Tennessee, Tennessee v. 3M Company, et al.,

No. 3:23-cv-00676 (M.D. Tenn. 2023). Tennessee brought suit because it has property interest in

the waters of the State, an interest as a sovereign, as public trustee to protect the natural resources

for the public, and pursuant to its obligation to take steps to secure, protect, and preserve the right

of the people of Tennessee to have unpolluted waters. Tennessee seeks various remedies, including

the costs of investigating, treating, monitoring, and remediating PFAS detected in the State’s

natural resources including, but not limited to, groundwater, surface water, sediments, soils, and

biota throughout Tennessee. Tennessee’s case is pending transfer to the AFFF MDL. Conditional

Transfer Order (ECF No. 1995).




49
   See Compl., ECF No. 1-1, in State of Rhode Island ex rel. Neronha v. 3M Company, 1:23-cv-
00284-MSM-LDA (D.R.I.). On July 19, 2023, Rhode Island’s case was conditionally transferred
to the AFFF MDL.
50
  See id. ¶¶ 5, 6, 9, 12, 74–78, 92–98, 250–251, 259–260, 266, 268(a)-(b), 270–271, 276, 282,
286, 288(a)–(c), 289–290, 295–296, 297(a)–(b), 299, 300(a)–(b), 303, 308, 310, 312, 327–328,
352–353.
                                                  17
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       Texas. On May 30, 2023, the State of Texas, acting by and through its Attorney General,

sued 3M and others to redress PFAS contamination from AFFF sources within the State. Texas v.

3M Company, et al., No. 067-342633-23 (Tex.Dist. May 30, 2023). Texas brought suit as an

exercise of its police power to enforce the laws, pursuant to its authority to protect public trust

resources, and in its parens patriae capacity for the benefit of its citizens. Texas seeks various

remedies, including environmental damages and the costs of investigating, treating, and

remediating PFAS detected in groundwater, surface water, sediments, soils, and biota throughout

Texas. The State anticipates that its case will be transferred to the MDL soon.

       Vermont. The State of Vermont, through its Attorney General, filed two separate lawsuits

in state court in June 2019 against 3M and others to address PFAS contamination within Vermont.

The first case addresses only PFAS contamination associated with the use of AFFF, was removed

to federal court, and is pending within the MDL. 51 Vermont brought a separate lawsuit to address

PFAS contamination caused by consumer and household products, as well as industrial uses, that

are not related to the use of AFFF. 52 Vermont has been litigating its PFAS consumer/industrial

products case in state court for over four years, with upcoming deadlines for the close of fact

discovery (October 2, 2023); the State’s expert disclosures (October 3, 2023); and the defendants’




51
  See Compl. ¶ 17, ECF No. 1-1, in State of Vermont v. 3M Company, et al., No. 2:19-cv-02281-
RMG (D.S.C.) [hereinafter cited as “Vermont AFFF Compl.”] (“The State is not seeking to recover
through this Complaint any relief for contamination and injury from PFAS that is not related to
the manufacture and use of AFFF, which the State is addressing through a separate legal action.”).
52
   See Ex. 8, Second Am. Compl. ¶ 13, in State of Vermont v. 3M Co., et al., No. 547-6-19 Cncv
(Vt. Super. Ct. Chittenden Cnty.) [hereinafter cited as “Vermont Non-AFFF Compl.”] (“The State
is not seeking to recover through this Second Amended Complaint any relief for contamination or
injury related to Aqueous Film Forming Foam, a firefighting material that contains PFAS and
which the State is addressing through a separate legal action.”).
                                                18
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expert disclosures (March 1, 2024). 53 The Vermont state court has set a trial-ready date of October

16, 2024.

          Vermont has brought its AFFF and non-AFFF cases in its capacity as sovereign, as trustee

of State natural resources; as owner of property (or of substantial interests in property); and

pursuant to its parens patriae authority on behalf of its citizens, as well as its statutory authority

to protect State natural resources and property and its common law police power, including its

power to prevent pollution of the State’s natural resources and property; to prevent nuisances; and

to prevent and abate hazards to public health, safety, welfare, and the environment. 54 Vermont’s

non-AFFF case seeks damages and other relief for other natural resources and locations in addition

to public drinking water wells, including PFAS contamination of groundwater, surface waters,

soils, fish, and other natural resources and at locations including private drinking water wells,

wastewater treatment facilities, landfills, industrial sites, and biosolid application sites, among

other locations. 55

          Wisconsin. The State of Wisconsin, through its Attorney General, sued 3M and others on

July 20, 2022 to redress PFAS contamination within Wisconsin. 56 Wisconsin brought suit in its

sovereign capacity to enforce the law, as trustee of the State’s public and natural resources, and

pursuant to its parens patriae authority to protect the health and wellbeing of its residents.

Wisconsin seeks to recover all damages and costs arising from PFAS contamination within the




53
     See Ex. 9, Discovery/Alternate Dispute Resolution Stipulation (Aug. 30, 2022).
54
     See Vermont AFFF Complaint ¶¶ 14, 18–21; Vermont Non-AFFF Complaint ¶¶ 10, 14–17.
55
     See Vermont AFFF Complaint ¶¶ 243–257; Vermont Non-AFFF Complaint ¶¶ 247–276.
56
     See Compl., ECF No. 1-1, in State of Wisconsin v. 3M Company, No. 2:23-cv-00028-RMG.
                                                 19
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State, including natural resource damages and the costs of abating PFAS detected in groundwater,

air, sediments, surface water, and drinking water throughout Wisconsin. 57

                 3M Proposed Settlement

          3M has reached an agreement in principle to settle PFAS-related claims of most public

water systems across the country. 3M filed the proposed Settlement with the Securities and

Exchange Commission (“SEC”) on June 22, 2023. On June 30, Plaintiffs filed their class action

complaint in this case that would effectuate the Settlement. 58 Plaintiffs subsequently moved for

class certification and preliminary approval of the Settlement on July 3, 2023. 59 Fourteen

Sovereigns filed a motion for an extension of time to respond to the preliminary approval motion

(and were later joined by additional Sovereigns), which the Court granted in part, ordering that

any response to the motion for preliminary approval is due on July 24. Plaintiffs then moved for

an additional extension of time, which the Court granted, ordering the Sovereigns to file their

response on July 26, 2023. 60

          Either individually or in various groups, the Sovereigns have engaged in good-faith efforts

to resolve several serious concerns with the Settlement over the past ten days, including multiple

conferrals with counsel for 3M and the plaintiff-movants (“Movants”) and providing proposed

revisions to the Settlement Agreement to 3M and the Movants. Unfortunately, while the parties

have made some progress on some items, due in part to the short amount of time available to




57
  See Am. Compl., ECF No. 33 in State of Wisconsin, ¶¶ 1, 9–12, 15, 63–68, 151–154, 158, 164,
172, 184, 288(b)–(c), 289(b), 290, 296, 299(b)–(c), 300(b), 301, 308–309, 311(b)–(c), 313, 315,
323, 324(a), 339(a), 347(a).
58
     See Compl., ECF No. 3367, in City of Camden v. 3M Co., No. 2:23-cv-03147-RMG (D.S.C).
59
     See generally Pls.’ Mot. for Preliminary Approval, ECF No. 3370-1.
60
     See Order, ECF No. 3442 (July 25, 2023).
                                                  20
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negotiate solutions to these significant issues, the Sovereigns have been unable to resolve their

concerns about the Settlement as proposed in the Motion.

III.            STANDARD OF REVIEW

        On a timely motion, the Court “must permit anyone to intervene” who “claims an interest

relating to the property or transaction that is the subject of the action, and is so situated that

disposing of the action may as a practical matter impair or impede the movant’s ability to protect

its interest, unless existing parties adequately represent that interest.” FED. R. CIV. P. 24(a)(2); see

also Houston Gen. Ins. Co. v. Moore, 193 F.3d 838, 839 (4th Cir. 1999). Also on a timely motion,

the Court “may permit anyone to intervene” who “has a claim or defense that shares with the main

action a common question of law or fact,” considering whether the intervention will “unduly delay

or prejudice the adjudication of the original parties’ rights.” FED. R. CIV. P. 24(b)(1)(B), (b)(3).

The decision whether to grant permissive intervention typically “lies within the sound discretion

of the trial court.” Smith v. Pennington, 352 F.3d 884, 892 (4th Cir. 2003) (citation omitted).

        The Sovereigns meet all of the requirements to intervene in this action as of right under

Rule 24(a)(2) and, in the alternative, for permissive intervention under Rule 24(b). As non-class

members with interests impacted by the Settlement, the Sovereigns may properly raise their

concerns through intervention. See Gould v. Alleco, Inc., 883 F.2d 281, 284 (4th Cir. 1989)

(“Interjection of the opposing views of non-class members should proceed via intervention under

Rule 24.”).

IV.     ARGUMENT

        To promote efficiency and judicial economy, the Sovereigns seek to intervene now so that

they can raise and resolve several serious concerns with the Settlement prior to preliminary




                                                  21
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approval and issuance of the class notice. 61 First, the Settlement contains a perpetual, uncapped,

and overbroad indemnity clause that could shift billions of dollars of 3M’s liability onto class

members and, ultimately, the Sovereigns’ taxpayers. 62 Second, the Settlement Agreement’s

ambiguous and overbroad release provisions may provide 3M a basis to argue that some of the

Sovereigns’ claims for the remediation or treatment of PFAS are released or precluded by the

Settlement, even if state agencies that own or administer public water systems within the class

definition opt out of the Settlement. Third, preliminary approval of the Settlement may be

accompanied by an antisuit injunction 63 that would presumably stay cases brought by various

Sovereigns pending in state and federal courts that seek a broad array of public costs and damages

outside the ambit of the proposed class action, as well as damages for testing and treatment of

public water systems that are within the class action. Fourth, the Settlement does not give putative

class members reasonable time to evaluate their claims (including determining their respective fair

shares using the model Class Counsel advised the Court at the last status conference would be



61
  The Sovereigns have sought to raise now the primary concerns with the Settlement Agreement
that was submitted with the motion for preliminary approval. As set forth in the accompanying
Sovereigns’ Opposition, the Sovereigns submit that the Settlement Agreement contains obvious
defects that, if not addressed, will ultimately require the denial of final approval of the Settlement.
The Sovereigns also, however, reserve the right to submit additional comments to any settlement
under the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715, which provides that
the Final Approval Order may not be issued earlier than 90 days after CAFA notice is served to
Sovereigns with proposed class members.
62
  Indeed, the value of the Settlement in the aggregate, and to each individual proposed class
member, is incapable of even rough calculation in light of the uncapped indemnity obligations that
potential class members (and, ultimately, the taxpayers) are required to assume under the clear and
unambiguous terms of the Settlement Agreement.
63
   This was discussed by the Court at the July 14, 2023 hearing and sought in the settlement
proposed by the DuPont entities. Any such antisuit injunction should be narrowly tailored in an
effort to avoid impacting the claims of the Sovereigns that are proceeding both inside the AFFF
MDL and outside the AFFF MDL in a variety of state and federal courts dealing with PFAS
contamination from sources other than AFFF.
                                                  22
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available for such purpose), evaluate their indemnity obligations, decide whether to opt out, or

submit their claims forms—all of which impair the due process rights of public water suppliers

across the country and ultimately would impact the issues identified herein.

                       The Sovereigns May Intervene As of Right

       The Sovereigns satisfy the four requirements to intervene as of right under Rule 24(a)(2).

The Sovereigns’ Motion is timely, the Sovereigns have significant protectable interests in this

action, denial of the Motion would impair the Sovereigns’ ability to protect those interests, and the

Sovereigns’ interests are not adequately protected by Plaintiffs. The Sovereigns’ intervention now

prior to preliminary approval will promote efficiency and judicial economy consistent with the

U.S. Court of Appeals for the Fourth Circuit’s guidance that “liberal intervention is desirable to

dispose of as much of a controversy involving as many apparently concerned persons as is

compatible with efficiency and due process.” Feller v. Brock, 802 F.2d 722, 729 (4th Cir. 1986)

(internal quotations omitted).

               1.      The Sovereigns’ Motion to Intervene Is Timely

       The timeliness of intervention is subject to the Court’s discretion. See Gould, 883 F.2d at

286. This Motion is timely because it was filed just three weeks after Plaintiffs moved for class

certification and preliminary approval of the Settlement and within the time allotted by the Court

to respond to the motion for preliminary approval. 64 Prior to 3M’s disclosure of the proposed

Settlement through a filing with the SEC on June 22, 2023 and Plaintiffs’ motion for preliminary

approval on July 3, 2023 the Sovereigns were unaware of the Settlement’s major flaws—namely,

that the Settlement (1) encompasses some of the same public water systems, non-AFFF



64
 See Pls.’ Mot. for Preliminary Approval, ECF No. 3370-1 (July 3, 2023); ECF No. 3408; ECF
No. 3442.
                                                 23
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contamination, and potentially other impacted resources that are included within some of the

Sovereigns’ cases; (2) contains overly broad release and indemnity provisions that could be

interpreted to impact the Sovereigns’ cases; and (3) the potential All Writs Act injunction that

could impact the Sovereigns’ separate PFAS cases. The Sovereigns, consistent with their duties

and responsibilities as public authorities, have acted diligently to understand the terms of the

proposed Settlement since the filing of the motion for preliminary approval and the Settlement

documents on July 3, 2023 and the July 14, 2023 Status Conference that addressed the proposed

Settlement. The Sovereigns acted promptly to evaluate the complex settlement, sought an

extension of time to do so which the Court granted in part, and promptly conferred with Proposed

Class Counsel in an effort to try to resolve their concerns. The Sovereigns have also concurrently

filed their Opposition, detailing their concerns within the time allotted. Given the length and

complexity of the proposed Settlement, the Sovereigns sought to intervene “as soon as it became

clear” that the proposed Settlement could impair their interests. United Airlines, Inc. v. McDonald,

432 U.S. 385, 386 (1977); see also United States v. Carpenter, 298 F.3d 1122, 1125 (9th Cir. 2002)

(intervention timely where proposed intervenors “acted as soon as they had notice” that settlement

terms agreed to through confidential mediation were “contrary to their interests”); Benjamin ex

rel. Yock v. Dep’t of Pub. Welfare of Pa., 701 F.3d 938, 948 (3d Cir. 2012) (intervention proper

where intervenors “moved to intervene after they had received notice of the Settlement Agreement

signed by the parties”); Outdoor Amusement Bus. Ass’n v. Dep’t of Homeland Sec., No. ELH-16-

1015, 2017 WL 2778820, at *9 (D. Md. June 26, 2017) (intervention was timely “some ten months

after the suit was initiated” in part because “public access to” relevant case information was “not

available to Movants”).




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         Intervention will not cause undue delay. The Sovereigns filed this Motion within the time

allotted by the Court to oppose class certification and preliminary approval of the Settlement. 65

The Sovereigns’ intervention promotes efficiency and judicial economy by allowing the

Sovereigns to present their objections to the Settlement now before the Court decides whether to

grant preliminary approval and notice is mailed to the proposed class. Conversely, denying

intervention would risk undue delay and expense by delaying consideration of potential problems

with the Settlement until after notice is sent to class members. In sum, intervention is timely.

                2.      The Sovereigns Have Significant Protectable Interests in This Action

         The Sovereigns have significant protectable interests in this action justifying intervention

because they may “stand to gain or lose” based upon how the Settlement could be interpreted.

Teague v. Bakker, 931 F.2d 259, 261 (4th Cir. 1991). An interest can be “significantly protectable”

even though it is “contingent upon the outcome of other pending litigation.” Id.

         First, the Sovereigns have an interest in the success of the PFAS claims they have asserted

or intend to assert in separate lawsuits against 3M. The proposed Settlement could be interpreted

to impact these claims, in part because 3M could argue that the Settlement’s overbroad release

provisions could apply to or preclude certain portions of the Sovereigns’ claims against 3M. See

Sovereigns’ Opposition at 13–15. For that reason, the Sovereigns may “stand to . . . lose”

recoveries that they seek through their lawsuits. See id. Moreover, the Settlement’s overbroad

indemnification clause could be interpreted to give 3M the right to sue public water suppliers,

including those located in each Sovereigns’ States, to satisfy any judgment other plaintiffs (like

personal injury plaintiffs) may obtain against 3M, rendering the Settlement largely illusory.

Practically speaking, that indemnification clause could thus be interpreted to allow 3M to mostly


65
     See ECF No. 3408; ECF No. 3442.
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exit the picture, leaving everyone else, including Sovereigns, state agencies, public water suppliers,

the public, and ratepayers, responsible for cleaning up 3M’s pollution. That potential outcome

clearly implicates the Sovereigns’ interests in ensuring their claims against 3M remain capable of

shifting the cost onto 3M of addressing PFAS contamination caused by 3M.

       Second, the Sovereigns have “significantly protectable interest[s]” at stake in this action

because they have sued or intend to sue 3M as trustees of natural resources, as property owners, in

their parens patriae capacities on behalf of all of their citizens or subdivisions, and/or pursuant to

their statutory, constitutional, common law, and other authorities and powers to protect public

health and the environment in their states. See supra Part II.A. The Sovereigns seek to recover for

PFAS contamination of natural resources in addition to public drinking water systems, including

groundwater, surface waters, private drinking water wells, soils, and other impacted natural

resources, like locations near wastewater treatment plants, landfills, industrial sites, and biosolid

land application sites. See Id. The Sovereigns’ standing to sue to remedy pollution demonstrates a

protectable interest under Rule 24(a)(2). 66 In this way, the Sovereigns’ cases encompass broader

harms than just PFAS contamination of public water systems, and a potential All Writs Act

injunction could stay those Sovereigns’ entire cases. See Sovereigns’ Opposition at 16–17. 67


66
   See N.C. Green Party v. N.C. State Bd. of Elections, 619 F. Supp. 3d 547, 562 (E.D.N.C. 2022)
(“While the intervenors need not establish Article III standing to demonstrate they have a
protectable interest in this action, an interest sufficient to demonstrate injury-in-fact for standing
purposes likely suffices to show a protectable interest under Rule 24(a)(2).”), dism’d, No. 22-1830,
2022 WL 18586807 (4th Cir. Aug. 30, 2022); N.C. State Conf. of NAACP v. Cooper, 332 F.R.D.
161, 165 (M.D.N.C. 2019). Cf. Savannah Riverkeeper v. U.S. Army Corps of Eng’rs, No. 9:12-
610-RMG, 2012 WL 13008326, at *2 (D.S.C. Aug. 14, 2012) (Gergel, J.) (“It is well settled that
a state may have sufficient interest in ‘preserving its sovereign territory’ from environmental injury
to support standing.”).
67
  The effects of an All Writs Act injunction would be especially severe for Vermont’s non-AFFF
case to which Vermont has devoted substantial resources and time; that has been litigated in state
court for over four years; that has a fact discovery deadline in early October, 2023; and that is
scheduled to be trial ready in October 2024.
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       Importantly, some of the Sovereigns have exercised their rights to sue 3M based in part on

their parens patriae authority and other laws authorizing them to seek damages for testing and

treatment of their public drinking water. See, e.g., State v. Exxon Mobil Corp., 126 A.3d 266, 290

(N.H. 2015) (upholding judgment for State awarding damages for, inter alia, costs of monitoring

and treating public water systems and holding that the “State was the proper party to bring suit

against the MTBE defendants, because it has a quasi-sovereign interest in protecting the health

and well-being, both physical and economic, of its residents with respect to the statewide water

supply” (internal quotations omitted)). Courts in other recent pollution cases have held that states

have standing to bring parens patriae lawsuits to remedy statewide contamination, including in

public drinking water wells owned by municipalities. See State v. Exxon Mobil Corp., 406 F. Supp.

3d 420, 470 (D. Md. 2019) (“The State brings this suit for the widespread contamination of its

waters. This is an injury that is properly redressed in parens patriae.”); Rhode Island v. Atl.

Richfield Co., 357 F. Supp. 3d 129, 135, 144 (D.R.I. 2018) (suit for statewide contamination of

public drinking water wells; upholding trespass claim: “While possessory interests are usually for

individual owners themselves to protect, when the harm to such interests is as widespread as

alleged in the State’s complaint, it counts as injury not just to the affected individuals, but to the

state as a whole.”).

       Courts have held that states seeking to protect their parens patriae and proprietary interests

have a sufficient protectable interest and satisfy the other factors for intervention as of right. See

Aziz v. Trump, 231 F. Supp. 3d 23, 29 (E.D. Va. 2017) (“[T]he Commonwealth has an interest in

the subject matter of the litigation both as parens patriae and as the proprietor of numerous public

universities.”); Zimmerman v. GJS Grp., Inc., No. 2:17–cv–00304–GMN–GWF, 2017 WL

4560136, at *7–8 (D. Nev. Oct. 11, 2017) (holding that Nevada had the right to intervene in case

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involving alleged discrimination given its parens patriae standing to “protect the interests of its

residents and resident businesses when they are subjected to a systematic abuse of federal anti-

discrimination laws”); People of the State of Cal. v. United States, 180 F.2d 596, 600 (9th Cir.

1950) (holding in water rights case that the “State of California is entitled to intervene as of right”

in its “capacity as parens patriae”). The “Supreme Court has repeatedly held that the states have a

right to appear as parens patriae regardless of the rights of individual and private appropriators or

users of water.” People of the State of Cal., 180 F.2d at 601. This is because the “requirements for

parens patriae standing are substantially similar to the second, third and fourth factors used in

determining intervention by right under Rule 24(a).” Zimmerman, 2017 WL 4560136, at *5.

Parens patriae and proprietary interests are significant protectable interests.

       Third, the Sovereigns have a strong interest in ensuring the Settlement’s terms are fair,

adequate, and reasonable for the public water providers affected by the Settlement. Although the

Sovereigns are not putative class members, they have significant environmental, public health, and

pecuniary interests in intervening to ensure that putative class members located within the

Sovereigns’ States receive funds sufficient to treat PFAS contamination in their water supplies,

and that the Sovereigns’ quasi-sovereign interests are vindicated. See Alfred L. Snapp & Son, Inc.

v. Puerto Rico ex rel. Barez, 458 U.S. 592, 607 (1982). 68 For example, California law treats water

pollution as a “matter[] of statewide concern” because it presents sweeping issues “beyond the

scope of inquiry, legislation, or enforcement by local government.” CAL. GOV’T. CODE § 12600.



68
   In an analogous California state court context, the People would have an unconditional right to
intervene in such a scenario. The California Legislature has vested its Attorney General with
special authority concerning the protection of the People’s natural resources. See CAL. GOV’T
CODE § 12606 (“The Attorney General shall be permitted to intervene in any judicial or
administrative proceeding in which facts are alleged concerning pollution or adverse
environmental effects that could affect the public generally.” (emphasis added)).
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Vermont holds its groundwater resources in trust for all citizens of the state, and the Vermont

General Assembly has declared that it “is the policy of the State that the State shall protect its

groundwater resources to maintain high-quality drinking water.” 69 The Maine Legislature likewise

has declared that the “protection of ground water resources is critical to promote the health, safety

and general welfare of the people of the State”; that aquifers “provide a significant amount of the

water used by the people of the State” and are “critical elements in the hydrologic cycle”; and that

an “adequate supply of safe drinking water is a matter of the highest priority and that it is the policy

of the State to protect, conserve and maintain ground water supplies in the State.” 38 ME. STAT.

§ 401. The Sovereigns’ interests in public health, natural resources, and drinking water, and the

economic impacts of PFAS contamination in their States are, therefore, implicated by the proposed

Settlement. See Alfred L. Snapp & Son, 458 U.S. at 607; see also Ohio Valley Env’t Coal., Inc. v.

McCarthy, 313 F.R.D. 10, 23 (S.D. W. Va. 2015) (“The economic injury directly threatened by

one possible outcome of the litigation gives rise to a significantly protectable interest.”).

       Fourth, the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715, expressly recognizes

the Sovereigns’ interests in CAFA settlements like this one, which implicate the rights of the

Sovereigns’ citizens, and entitles the Sovereigns to “provide a check against inequitable

settlements.” California v. Intelligender, LLC, 771 F.3d 1169, 1172 (9th Cir. 2014) (citation

omitted). This is especially so “if the settlement appears unfair to some or all class members or

inconsistent with applicable regulatory policies.” In re Flonase Antitr. Litig., 879 F.3d 61, 64 (3d

Cir. 2017) (quoting S. Rep. No. 109-14, at 31 (2005)).

       The Sovereigns have significant protectable interests.



69
  10 VT. STAT. ANN. § 1390(3); see also id. § 1390(5) (“It is the policy of the State that the
groundwater resources of the State are held in trust for the public.”).
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               3.      Denial of the Motion Would Impair the Sovereigns’ Ability to Protect
                       Their Interests

       The Sovereigns’ interests will be impaired if intervention is denied because “disposing of

the action may as a practical matter impair or impede the [Sovereigns’] ability to protect [their]

interest[s].” FED. R. CIV. P. 24(a)(2). Intervention is justified where “disposition of the action

would put the movant at a ‘practical disadvantage’ in protecting its interest” or the settlement could

be interpreted to “preclude” the “would-be intervenor from protecting its interest later.” McCarthy,

313 F.R.D. at 26 (citation omitted). This factor “requires a practical analysis, rather than a legal

one.” Id. The Sovereigns’ interests in successfully prosecuting their claims against 3M may be

impaired absent intervention.

       First, as explained above, denying intervention may impair the Sovereigns’ environmental,

public health, and pecuniary interests in assuring that public water providers located within the

Sovereign States obtain sufficient funds to treat PFAS contamination in their water supplies. As

explained in the Sovereigns’ concurrently filed Opposition, the Sovereigns are concerned that the

proposed Settlement could be interpreted to require public water systems to indemnify 3M in

perpetuity for any liabilities arising from PFAS that entered their water supplies, even if those

indemnities far exceed the consideration received under the Settlement, rendering the Settlement

amount illusory and incalculable. See Sovereigns’ Opposition at 10–13.

       Second, the proposed Settlement Agreement’s overbroad release clause may well place the

Sovereigns at a “practical disadvantage” as they litigate their claims against 3M, because 3M could

argue (erroneously) that the Settlement releases certain of the Sovereigns’ claims against 3M

regarding natural resources and locations other than public drinking water. Since 3M could argue

that the Settlement precludes certain of the Sovereigns’ claims against 3M, the Sovereigns face a

risk that the Settlement could be interpreted to “preclude” their ability to recover for certain PFAS
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contamination sought by the Sovereigns’ separate lawsuits. See McCarthy, 313 F.R.D. at 26.

Although the Sovereigns would disagree with any such interpretation, Rule 24(a)(2) requires a

“practical analysis, rather than a legal one,” id., and there is no question that the Sovereigns’

interest in the success of their claims practically may be impaired by a proposed settlement that

leaves the door open for 3M to assert such sweeping defenses.

       Third, certain Sovereigns’ parens patriae and public trust lawsuits, including but not

limited to those brought by Maine, New Hampshire, and Vermont, already seek remedies to

address contamination of public water systems that are included within the proposed class that

extends to both non-AFFF and AFFF contamination. As a result, Vermont’s non-AFFF, state court

case (which is close to trial ready) could be subject to any antisuit injunction that is applied to

cases implicating proposed class members, notwithstanding that Vermont’s prosecution of that

case will not impede the proposed Settlement here. Similarly, Maine’s, New Hampshire’s, and

other Sovereigns’ prosecution of their AFFF and non-AFFF cases will not impact this Settlement

but could also nonetheless be stayed. To be clear, the Sovereigns’ AFFF cases are not solely limited

to water contamination claims, but an injunction could unintentionally stay the entirety of these

cases as well.

       The Sovereigns’ ability to protect their interests will be impaired absent intervention.

                 4.    The Sovereigns’ Interests Are Not Adequately Represented by the
                       Plaintiffs

       The fourth factor is satisfied where “representation of [the movant’s] interest ‘may be’

inadequate.” United Guar. Residential Ins. Co. of Iowa v. Phila. Sav. Fund Soc., 819 F.2d 473,

475 (4th Cir. 1987) (emphasis in original) (quoting Trbovich v. United Mine Workers of Am., 404

U.S. 528, 538 n.10 (1972)). Representation may be inadequate where the “existing parties’

interests are not completely identical to and may come into conflict with [the intervenor’s] own
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interests.” Vision Church v. Vill. Of Long Grove, No. 03 C 5761, 2004 WL 742133, at *4 (N.D.

Ill. Apr. 6, 2004). The burden to make this showing is “minimal.” See Virginia v. Westinghouse

Elec. Corp., 542 F.2d 214, 216 (4th Cir. 1976); N.C. State Conf. of NAACP v. Cooper, 332 F.R.D.

161,168 (M.D.N.C. 2019). Plaintiffs’ interest in securing approval of the Settlement conflicts with

the Sovereigns’ interests in prosecuting their PFAS cases and in modifying the Settlement’s

provisions that may adversely affect the Sovereigns.

       First, the Sovereigns’ PFAS lawsuits seek damages regarding natural resources that are

broader than drinking water and extend to locations in addition to public drinking water wells,

including private drinking water wells, wastewater treatment plants, landfills, hazardous waste

sites, biosolid land application sites, and other non-water natural resources. None of this additional

relief is sought by Plaintiffs. Thus, the Sovereigns’ “broader” interests are not adequately

represented by Plaintiffs and resolution of Plaintiffs’ claims “might leave some of the

[Sovereigns’] grievances unaddressed.” Aziz, 231 F. Supp. 3d at 29. The differences in the

Sovereigns’ interests and remedies mean that the Sovereigns’ litigation strategy and positions in

settlement negotiations necessarily diverge from those of Plaintiffs.

       Second, Plaintiffs are not authorized to represent the Sovereigns’ interests. “Generally, no

person or entity other than the Attorney General of a state is authorized to represent that state in

any court or in any case.” Walker v. Liggett Grp., Inc., 982 F. Supp. 1208, 1210–11 (S.D. W. Va.

1997). To the extent that counsel for Plaintiffs “purport to represent the interests of the Sovereigns,




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these counsel act ultra vires” under those Sovereigns’ laws. Id. at 1211. 70 Indeed, Attorneys

General in some of the Sovereigns’ jurisdictions have the right to preclude public water systems

from separately litigating when the State has already filed a case seeking damages to those systems.

See State v. City of Dover, 891 A.2d 524, 531–32 (N.H. 2006). The Attorneys General object to

Plaintiffs representing the Sovereigns’ interests and seek to intervene to safeguard their own

interests.

        B.     The Court Should Also Grant Permissive Intervention

        The Court also should grant the Sovereigns permissive intervention pursuant to Rule 24(b)

because the Motion is timely, the Sovereigns share common questions of law and fact with

Plaintiffs’ claims in this action, and intervention will not result in undue delay or prejudice to

Plaintiffs. See FED. R. CIV. P. 24(b)(1)(B), (b)(3); see also Carcaño v. McCrory, 315 F.R.D. 176,

178 (M.D.N.C. 2016) (same). Permissive intervention “should be construed liberally in favor of

intervention.” Savannah Riverkeeper v. U.S. Army Corps of Eng’rs, No. 9:12-610-RMG, 2012 WL

13008326, at *2 (D.S.C. Aug. 14, 2012). For the reasons set forth in Part IV.A, supra, the

Sovereigns have satisfied the requirements for permissive intervention.

        First, there can be no reasonable dispute regarding the Motion’s timeliness. Second, the

Sovereigns’ claims share common questions of law and fact with Plaintiffs’ claims regarding

drinking water contamination caused by 3M’s PFAS products. 71 The Sovereigns have an interest


70
   Cf. In re McKesson Governmental Entities Average Wholesale Price Litig., 767 F. Supp. 2d 263,
271 (D. Mass. 2011) (explaining that “as sovereigns, states have a strong interest in individually
controlling the prosecution of their own cases” and that “most states have laws providing the
Attorney General of the state with exclusive authority to represent the state in litigation[,]” and
finding that “a class action that includes state agencies is not a superior way in which to conduct
this litigation”).
71
   Although the AFFF MDL was originally initiated to address PFOA and PFOS contamination
resulting from the use of AFFF, see In re Aqueous Film-Forming Foams Prod. Liab. Litig., 357 F.

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in this action given their obligations as trustees for natural resources under the public trust doctrine.

Indeed, each Sovereign is responsible for submerged land underneath navigable waters in its

territories and this protection extends to fisheries. The Sovereigns’ parens patriae, public trust,

and similar interests demonstrate that permissive intervention is warranted. See Aziz, 231 F. Supp.

3d at 29 (granting permissive intervention to state that “has an interest in the subject matter of the

litigation both as parens patriae and as the proprietor of numerous public universities”);

Zimmerman, 2017 WL 4560136, at *9 (granting permission intervention to state seeking to protect

parens patriae interests); PPL Montana, LLC v. Montana, 565 U.S. 576, 603 (2012) (“[P]ublic

trust doctrine . . . concerns public access to the waters above those beds for purposes of navigation,

fishing, and other recreational uses.”).

         Finally, the improvements to the Settlement that the Sovereigns seek can be achieved

without undue delay or prejudice to Plaintiffs’ rights.

    V.      CONCLUSION

         Based upon the foregoing, the Sovereigns respectfully request that the Court grant their

Motion for Intervention to allow the filing of (1) the Sovereigns’ Opposition to Plaintiffs’ Motion

for Preliminary Approval of Class Settlement, for Certification of Settlement Class and for

Permission to Disseminate Class Notice, and (2) the two supplemental oppositions referenced in

footnote 5. The Sovereigns also request any other relief to which they are justly entitled.

Dated: July 26, 2023




Supp. 3d 1391 (J.P.M.L. 2018), the Settlement is structured to apply to a substantially broader set
of PFAS (see Settlement Agr. ¶2.47 (defining PFAS to “be as broad, expansive, and inclusive as
possible”), having implication for both 3M’s AFFF-related PFAS and 3M’s non-AFFF related
PFAS contamination. This is part of the concern the Sovereigns have: the breadth and scope of the
Settlement and its release.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2023, I electronically filed the foregoing document with

the Clerk of the Court using the Court’s CM/ECF system, which shall send notice to all counsel

of record.


Dated: July 26, 2023                               /s/ Nicholas G. Campins
                                                   NICHOLAS G. CAMPINS




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